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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 17-cv-80744-DMM/DLB


   NICHOLAS C. KRIKORIAN,

                    Plaintiff,

   vs.

   BROKEN SOUND CLUB, INC., a Florida
   Corporation,

                    Defendant.



                      NOTICE OF WITHDRAWAL OF DOCKET ENTRY 24

          Defendant, Broken Sound Club, Inc., by and through undersigned counsel hereby

  withdraws it Motion for Rule 11 Sanctions and Memorandum of Law in Support (D.E.24).

                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by E-Mail

  on     November     17,    2017,   to   Robert   S.   Norell,   Esq.,   rob@floridawagelaw.com,

  layla@floridawagelaw.com, and James A. Peterson, Esq., james@floridawagelaw.com, Robert
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